   Case 20-11539-JDW       Doc 7 Filed 04/28/20 Entered 04/28/20 16:26:09         Desc Notice
                             Converting 341 to Telep Page 1 of 1
                                                                                  CM/ECF tele341
                                                                                      (03/27/20)

                         UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF MISSISSIPPI

In Re: Norris Ray Wright, Sr.                   )               Case No.: 20−11539−JDW
       Debtor(s)                                )               Chapter: 7
                                                )
                                                )
                                                )


       NOTICE OF 11 U.S.C. § 341(a) MEETING TO BE HELD BY TELEPHONE


PLEASE TAKE NOTICE that the 11 U.S.C. § 341(a) meeting of creditors will be conducted via
TELEPHONE by:
Trustee: William L. Fava
Call in number: 877−985−2448
Passcode: 4892659
The following date and time for the meeting have not changed from the original creditor meeting
notice sent to you by the Bankruptcy Court:
June 5, 2020 at 09:30 AM

Please do not appear in−person for the meeting. Debtors must call in to the meeting to be
questioned under oath. In a joint case, both spouses must call in to the meeting. Creditors may
attend but are not required to do so. Debtor attorneys will be responsible for verifying both the
debtors' photo ID and the debtors' social security number on the record. If you are a pro se debtor
who appears by telephone, the trustee may require that you appear at a continued meeting in order
to present your proof of identification and social security number and to affirm that you were the
one who testified at the telephonic meeting If the meeting is continued or adjourned to a later
date, the date will be on the court docket. If you have any questions or concerns, please contact
your attorney or the case trustee with the information provided on the original 341 Meeting of
Creditors notice.

Dated: April 28, 2020                           DAVID W. ASBACH
                                                Acting United States Trustee
                                                Region 5, Judicial Districts of
                                                Louisiana and Mississippi

                                                By: Ronald H. McAlpin
Ronald H. McAlpin, Assistant U. S. Trustee
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